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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: U2- 61708

STEVE J. BROSCHART, on his own
behalf and others similarly situated, “ ‘halhtare oor = A
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Plaintiff, SELTZER we. ©

Vv. oF “Y
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THE ULTIMATE SOFTWARE GROUP, o - 06m \
INC., a foreign corporation, - ~

Defendant.

 

COMPLAINT

1. Plaintiff, STEVE J. BROSCHART, (hereinafter referred to as “Plaintiff’), was an
employee of Defendant, THE ULTIMATE SOFTWARE GROUP, INC., (hereinafter referred to
as “Defendant”’) and brings this action on behalf of himself and other current employees and
former employees of Defendant similarly situated to him for overtime compensation and other
relief under the Fair Labor Standards Act, as amended, 29 U.S.C. §216(b). Plaintiff performed
work as a product support representative/customer service representative and related activities in
Broward County, Florida.

2. Defendant, THE ULTIMATE SOFTWARE GROUP, INC., is a Delaware
corporation doing business in Broward County, Florida and within the jurisdiction of this Court.
3. This action is brought to recover from Defendant overtime compensation,
liquidated damages, and the costs and reasonable attorney’s fees under the provisions of Title 29

U.S.C. §216 (b) (the Act).
4. Jurisdiction is conferred on this Court by Title 28 U.S.C. §1337 and by Title 29

U.S.C. §216(b). At all times pertinent to this Complaint, Defendant was engaged in interstate

 
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commerce or in the production of goods for commerce as defined §3(r) and 3(s) of the Act, 29
USS.C. §203(r) and 203(s). Additionally, Plaintiff, himself, was individually engaged in interstate
commerce. Based upon information and belief, the annual gross sales volume of Defendant was
in excess of $500,000.00 per annum.

5. The additional persons who may become Plaintiffs in this action are employees
who held positions of product support representatives/customer service representatives and who
worked in excess of forty (40) hours during one or more work weeks on or after December, 1999.

6. At all time pertinent to this Complaint, Defendant failed to comply with Title 29
U.S.C. §201-209 in that Plaintiff and those similarly situated to Plaintiff performed services for
Defendant for which no provision was made by the Defendant to properly pay Plaintiff for those
hours worked in excess of forty within a work week.

7. Plaintiff's employment with Defendant provided for compensation pursuant to a
salary paid bi-weekly, but Defendant failed to pay time and a half for all hours worked above forty
within a work week.

8. In the course of employment with Defendant, Plaintiff and other similarly situated
employees were not paid time and one-half of their regular rate of pay for all hours worked in
excess of forty (40) hours per work week during one or more work weeks.

9. The records, if any, concerning the number of hours actually worked by Plaintiff
and all other similarly situated employees and the compensation actually paid to such employees

are in the possession and custody of Defendant.

COUNT I
RECOVERY OF OVERTIME COMPENSATION

10. Plaintiff readopts and realleges and allegations contained in Paragraphs 1 through
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9 above.

11. Plaintiff is entitled to be paid time and one-half of his regular rate of pay for each
hour worked in excess of forty (40) hours per work week. All similarly situated employees are
similarly owed their overtime rate for each overtime hour they worked and were not properly paid.

12.‘ By reason of the said intentional, willful and unlawful acts of Defendant, THE
ULTIMATE SOFTWARE GROUP, INC., all Plaintiffs (Plaintiff and those similarly situated to
him) have suffered damages plus incurring costs and reasonable attorney’s fees.

13.  Asaresult of Defendant’s willful violation of the Act, all Plaintiffs (Plaintiff and
those similarly situated to him) are entitled to liquidated damages.

14. Plaintiff demands a jury trial.

WHEREFORE, Plaintiff and those similarly situated to him who have or will opt into this
action, demand judgment against Defendant, THE ULTIMATE SOFTWARE GROUP, INC., for
the payment of all overtime hours at one and one-half their regular rate of pay due them for the
hours worked by them for which they have not been properly compensated, liquidated damages
and reasonable attorney’s fees and costs of suit, and for all proper relief including prejudgment
interest.

DATED this 3! d

ay of December, 2002.

SHAVITZ LAW GROUP, INC.

2000 Glades Road, Suite 200

Boca Raton, FL 33431

Tel: 561-447-8888/ Fax: 561-447-8831
E-mail: gshayi avitzlaw.com

GREGG I. SHAT
Fl. Bar No.: 1139

 

 
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(4) CIRCLE COUNTY WHERE ACTION AROSE: DADE, MONROE, (BROWARD, ) PALM BEACH MARTIN, ST. LUCIE, INDIAN RIVER, OREECUGEEE HIGHLANDS ‘

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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